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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE


FRANK LEHMAN and                                     )
SANDRA PIECHOCKI                                     )
                                                     )
               PLAINTIFFS                            )
                                                     )
v.                                                   )      Civil Action No.:
                                                     )
DAVID LOXTERKAMP, M.D, and                           )      AMENDED COMPLAINT AND
UNITED STATES                                        )      JURY DEMAND
                                                     )
                                                     )
               DEFENDANTS                            )


                       PLAINTIFF’S FIRST AMENDED COMPLAINT


        NOW COMES the Plaintiffs, Frank Lehman and Sandra Piechocki, by and through their

undersigned attorney, hereby files suit against the above-captioned Defendants, and in support

thereof, states as follows:

                                     SUMMARY OF CASE

        This is an administrative tort claim action brought pursuant to the Federal Torts Claim

Act and, to the extent appropriate, ancillary state negligence, common law and the State of

Maine Health Security Act, by residents of Belfast, Waldo County, Maine for personal injuries

suffered by Frank Lehman and Sandra Piechocki as a result of medical malpractice committed

upon Mr. Lehman by an employee of a federally-supported health facility.

                                JURISDICTION AND VENUE

1.      This Court has jurisdiction over this action against the Defendants pursuant to 28 U.S.C.

Sections 1346(b), 2401(b) and 2674-80. This Court has jurisdiction over the pendant state law

tort claims pursuant to 28 U.S.C. § 1367(a).

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2.      Venue is properly vested in this Court because Plaintiffs and the federally-supported

Defendants are residents of this District and the acts complained of occurred within the

jurisdiction of this District (specifically, Waldo County, Maine).



                                            PARTIES

3.      At all times pertinent hereto, Frank Lehman (hereinafter “Mr. Lehman”) was an

individual residing in Belfast, Waldo County, Maine.

4.      At all times pertinent hereto, Sandra Piechocki (hereinafter “Ms. Piechocki”) was an

individual residing in Belfast, Waldo County, Maine.

5.      At all times pertinent hereto, Frank Lehman and Sandra Piechocki reside together,

legally, as husband and wife.

6.      At all times relevant hereto, David Loxterkamp, M.D. (hereinafter “Dr. Loxterkamp”)

was, and/or is, a Maine licensed physician, and employee of Penobscot Community Health

Center (hereinafter “PCHC”) d/b/a Seaport Community Health Center (hereinafter “SCHC”), a

Maine corporation with its principal place of business in Belfast, Waldo County, Maine.

7.      Upon information and belief, Defendant PCHC d/b/a SCHC, was at all times relevant

between January 1, 2013 and July 14, 2013, a Maine professional non-profit corporation, in good

standing, with its principal place of business in Belfast, County of Waldo and Sate of Maine.

8.      Upon information and belief, Defendant SCHC became an approved delivery site of

PCHC for purposes of the Federal Tort Claims Act, 28 U.S.C. §§ 1346(b), 2401(b), 2671-80, on

July 15, 2103.




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9.      Upon information and belief, Defendant Dr. Loxterkamp was at all times relevant, a

licensed Maine physician, and as of July 15, 2013, an employee of the Department of Health and

Human Services (hereinafter “DHHS”) pursuant to 42 U.S.C. § 233 (g)(h).

                                              FACTS

10.     On or about January 9, 2013, Mr. Lehman seeks treatment from Dr. Loxterkamp for

complaints of a lump in his left breast, near his nipple.

11.     Dr. Loxterkamp’s exam reveals a 4-5 mm firm mobile lesion at the 2 o’clock position on

the edge of the areola.

12.     Dr. Loxterkamp refers Mr. Lehman to Jeffrey Sedlack, M.D., a general surgeon for

evaluation.

13.     On January 14, 2013, Mr. Lehman has a bilateral digital mammogram performed with

focused left breast ultrasound. The conclusion of the tests suggests a nodular left unilateral

gynecomastia, and it is recommended for Mr. Lehman to have close clinical surveillance of the

left breast lump, resulting in a decision to perform biopsy based upon clinical concern.

14.     On January 14, 2013 Mr. Lehman is examined by Dr. Sedlack for his left breast mass.

Dr. Sedlack advises Mr. Lehman to leave the lump alone and follow-up in two months.

15.     On January 16, 2013, Mr. Lehman returns to Dr. Loxterkamp’s office for his annual

exam and notes lump or mass in breast.

16.     Despite the need for close clinical follow up, neither Dr. Sedlack nor Dr. Loxterkamp

arrange for this appointment.

17.     On July 23, 2014, Mr. Lehman sees Dr. Loxterkamp regarding the lump in his left breast,

noting it is slightly tender and that he has seen a surgeon who doubts that the lump is benign in

2013.



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18.    Dr. Loxterkamp inexplicably attempts to remove the 6 x 12 mm lesion in his office. Dr.

Loxterkamp, after an extensive attempt at dissection with bleeding and local tissue injury, is only

able to remove part of the lesion and this specimen is sent to pathology.

19.    On July 25, 2014 Mr. Lehman presents to Dr. Loxterkamp for a dressing change and the

results of his pathology which revealed an invasive intra-ductal cell adenocarcinoma of

intermediate grade, hormone receptor +, and HER 2/neu assay negative. Dr. Loxterkamp

consults with an oncologist but encourages Mr. Lehman to go on his planned vacation prior to

the consult.

20.    On July 28, 2014, Mr. Lehman returns to Dr. Loxterkamp’s office for concern of bruising

noted around the incisional area where Dr. Loxterkamp had attempted to remove the lesion.

21.    On August 7, 2014, Mr. Lehman seeks treatment and opinions from Susan O’Connor, an

oncologist, who examines Mr. Lehman and finds the breast incision is slightly open; there is

significant ecchymosis and swelling and it is difficult to tell if there was any residual tumor left

due to the increased echogenicity from the bruising and fluid related to the attempted removal.

Dr. O’Connor wants a second opinion and an appointment is made for Mr. Lehman at Dana

Farber Cancer Institute.

22.    On August 13, 2014, Mr. Lehman sees Dr. Dominici who confirms Dr. O’Connor’s

diagnosis of breast cancer and proceeds to schedule surgery for dissection to stage and treat the

breast carcinoma. In addition, on this same date, Mr. Lehman is evaluated by a medical

oncologist, Dr. Morganstern, from Dana Farber Breast Oncology Center.

23.    On August 8, 2014, Mr. Lehman undergoes a left modified mastectomy, left sentinel

lymph node biopsy and then an axillary dissection. During the mastectomy a sentinel node is

sent to pathology and is determined to be malignant and a complete dissection is necessary.



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24.    On September 3, 2014 lab results reveal 8 out of 25 nodes are involved with metastatic

adenocarcinoma.

25.    As a result of the advanced stage of the breast cancer, Mr. Lehman is subsequently

treated with chemotherapy and radiation followed by hormonal therapy with Tamoxifen and will

continue to treat with Tamoxifen for the next five (5), to possibly ten (10) years.

26.    As a direct and proximate result of the negligence/breach of applicable standards of care

of Dr. Loxterkamp and SHCH d/b/a PCHC, Plaintiff Frank Lehman has sustained personal

injuries, including but not limited to:

       a.      failing to follow the recommendations of the radiologist at Waldo County General

               Hospital, who on January 14, 2013 recommended short interval follow-up clinical

               surveillance of the left breast;

       b.      failing to perform a biopsy of Mr. Lehman’s left breast mass in 2013;

       c.      failing to timely diagnose, treat and/or refer Plaintiff, Mr. Lehman, for a work-up

               and treatment for breast cancer;

       d.      attempting to perform a surgical procedure in an office setting by trying to

               surgically remove the lump in Mr. Lehman’s left breast without first

               recommending he see a surgeon, failing to repeat the imaging, and most critically

               failing to recognize the possibility of malignancy; and

       e.      to the extent that any individual Respondents named herein are liable for

               professional negligence, the entity Respondents, as their employers, agents and/or

               principals, are liable for their professional negligence under the doctrine of

               respondeat superior.




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27.     As a direct and proximate result of the negligence/breach of applicable standards of care

of Dr. Loxterkamp and SCHC d/b/a PCHC, Plaintiff, Ms. Piechocki have suffered damages

including but not limited to loss of chance for cure, unnecessary treatments including radiation

and chemotherapy, emotional and physical pain and conscious suffering, and a high likelihood of

death from recurrent breast cancer.

28.     On or about August 5, 2015, Plaintiffs file a Notice of Claim against Dr. Loxterkamp,

M.D./SCHC pursuant to 24 M.R.S.A. Section 2853 and 14 M.R.S.A. Section 1602.

29.     On or about January 28, 2016, DHHS issues a letter advising Plaintiffs that Defendants

Dr. Loxterkamp and SCHC are employees of a federally-supported health facility and that,

pursuant to the Federally-Supported Health Centers Assistance Act of 1992, as amended, 42

U.S.C Section 233g)-(n), the Federal Torts Claim Act, 28 U.S.C. Section 134(b), 2671-2680 is

and was the exclusive remedy for the injuries sustained by Plaintiffs.

30.     On August 30, 2016, DHHS issues a further letter advising Plaintiffs that, after review,

the claim of Plaintiffs for medical malpractice as described above, is denied. In that letter,

DHHS advises Plaintiffs that the appropriate remedy for such denial, if and to the extent that

Plaintiffs disagree with said denial, is the filing of suit in the appropriate United States Federal

District Court.

31.     This action follows upon the aforesaid actions of DHHS.

                                       CAUSES OF ACTION

                                              COUNT I

                                 FEDERAL TORT CLAIM ACT

32.     Plaintiffs repeat and reallege each and every allegation set forth in Paragraphs 1-31, set

forth above, with the full force and effect as if set forth fully herein.



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33.     By reason of the foregoing, Plaintiffs are entitled to recover against the United States

pursuant to the Federal Torts Claim Act.

                                              COUNT II

                STATE LAW NEGLIGENCE/MAINE HEALTH CARE ACT

34.     Plaintiffs repeat and re-allege each and every allegation set forth in Paragraphs 1-33, set

forth above, with the full force and effect as if set forth fully herein.

35.     By reason of the foregoing, if and to the extent that the Federal Torts Claim Act is

deemed not to be the exclusive remedy for the injuries sustained by Plaintiffs, Plaintiffs are

entitled to recover against Defendants Dr. Loxterkamp and SCHC/PCHC in common law

negligence and/or pursuant to Maine’s Health Security Act, 24 M.R.S.A. Section 2853 and 14

M.R.S.A. Section 1602.

        WHEREFORE, Plaintiffs demands judgment against Defendants for compensatory

damages in the amount of five million dollars ($5,000,000.00) and for their attorneys’ fees, and

costs, together with all such other, further, and additional relief as this Court deems appropriate,

and for a trial by jury on all issues so triable as a matter of right.



        December 6, 2016                                               /s/ Owen Pickus, DO., Esq.
Date                                                             Owen Pickus, DO., Esq.
                                                                 Bar No. 4248

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